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United States District Court
For The District of Wyoming

 

 

Pro Se Electronic Notification Registration Form

For Case Number: (NV () ~

Personal Information:

Last Name: DeWilde First Name: Jake

 

 

Middle Initial: S Suffix (Sr., Jr., etc.)

 

 

Last 4 Digits of SSN: 9354

 

|
Street Address: 301 Stagecoach Trl, Cody, WY 82414

 

Mailing Address: PO Box 267, Wapiti, WY 82450
City: Cody State) WY Zip: 82414

 

Phone (include area code): 580-461-0202

 

E-mail: jakedewilde @ gmail.com

(Transmission of ECF Notices to this address constitutes Service under the Federal Rules)

A participant’s registration with the Court’s ECF system shall constitute a waiver of conventional service of
papers. Other than service of a summons or complaint, I agree that the service required by Fed. R. Civ. P. 5,
Fed. R. Civ. P. 77(d) and Fed. R. Crim. P. 49(c) shall be given to me by electronic transmission through the
Court’s ECF system to the E-Mail Address provided. I agree that the notice of electronic filing provided to
me, at the e-mail address I specified, via the CM/ECF system constitutes service for the purpose of Fed. R.
Civ. P. 5, Fed. R. Civ. P. 77(d) and Fed. R. Crim. P. 49(c).

 

Consent: Please read carefully and sign this section to register for ELECTRONIC NOTIFICATION ONLY.

1 AM REGISTERING FOR ELECTRONIC NOTIFICATION ONLY.

By registering, you consent to/electronic service of all documents. Documents will be sent to the email address provided above. In

|
addition, you agree to notify the Clerk's Office of any changes to your email address.

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Date / / Signature fa
aace S. | WDelVeene

Printed Name

 

Print, Sign, Date and Submit completed form with original signature to:

CM/ECF Registration
Clerk of District Court
2120 Capitol Avenue, Room 2131
Cheyenne, WY 82001
